Case 2:05-Cr-20029-BBD Document 31 Filed 07/08/05 Page 1 of 2 Page|D 27

raise sr fMl-" r).c.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JUL ...8 pH w 32
Western Division

\>--

 
 

UNITED sTATEs oF AMERICA Ct£fti’§.iifi;.\

`.l_Cl COURT
W."L) tit itt t.'*:‘:i\,iPHlS
-vs- Case No. 2:05cr20029-02Ml
KENDRICK WATSON

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(1`), a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to Wit, the defendant is serving a sentence from another case. The
defendant may make application for bond at a later time.

Arraignment set Wednesday July 13, 2005 @ 10:00am in C/R #5.
DlREchoNs REGARD|NG DETENTloN

KENDRICK WATSON is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. KENDRICK WATSON shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
governrnent, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: July 8, 2005
DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Th|s document entered on the docket sheet ln cognaan
with Ftule 55 andlor 32(b) FFlCrP on "

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3l in
case 2:05-CR-20029 Was distributed by faX, mail, or direct printing on
.luly ll, 2005 to the parties listedl

 

 

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

l\/lemphis7 TN 38103

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

